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                             No. 24-10386
           ________________________________________________
             IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT
           ________________________________________________
                                 State of Texas,
                                                        Plaintiff-Appellee,
                                         v.
 Merrick Garland, U.S. Attorney General, in his official capacity as United States
  Attorney General; Charlotte A. Burrows, in her official capacity as Chair of the
U.S Equal Employment Opportunity Commission; Jocelyn Samuels, in her official
 capacity as Vice Chair of the U.S Equal Employment Opportunity Commission;
    Keith Solderling, in his official capacity as Commissioner of the U.S Equal
 Employment Opportunity Commission; Andrea R. Lucas, in her official capacity
    as Commissioner of the U.S Equal Employment Opportunity Commission;
   Christopher W. Lage, in his official capacity as General Counsel of the Equal
     Employment Opportunity Commission; Equal Employment Opportunity
                Commission; United States Department of Justice,
                                           Defendants-Appellants.
           ________________________________________________
    On Appeal from No. 5:23-cv-00034-H in the United States District Court
        for the Northern District of Texas, Hon. James Wesley Hendrix
          ________________________________________________
 BRIEF FOR AMICUS CURIAE IRAQ AND AFGHANISTAN VETERANS
    OF AMERICA IN SUPPORT OF DEFENDANTS-APPELLANTS
        ________________________________________________
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   Legislation to Protect Veterans from VA Errors” (Sept. 23, 2020),
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   on the VA to Reform VA’s Debt Collection Process Hurting
   Veterans” (Oct. 15, 2019), https://pappas.house.gov/media/press-
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   & Nehls Introduce Legis. to Protect Veterans from VA Payment
   Errors” (May 4, 2021), https://pappas.house.gov/media/press-
   releases/representatives-pappas-and-nehls-introduce-legislation-
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        SUPPLEMENTAL CERTIFICATE OF INTERESTED PERSONS 1

         Under Fifth Circuit Rule 29.2, undersigned counsel supplements Appellant’s

Certificate of Interested Parties to fully disclose all persons with interest in this

amicus brief. These representations are made so that the judges of this Court may

evaluate possible disqualification or recusal.

      Iraq and Afghanistan Veterans of America, amicus curiae

     Allison Jaslow, CEO, Iraq and Afghanistan Veterans of America

     Alex Wolf, Drew Padley, W. Henry Legg, Brendan Hammond, Steptoe LLP
           counsel for amicus curiae

                                              Respectfully submitted,

                                              /s/ Alexander M. Wolf
                                              Alexander M. Wolf
                                              Counsel for Amicus Curiae Iraq and
                                              Afghanistan Veterans of America




1
    All parties have consented to the timely filing of this brief.

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                        INTEREST OF AMICUS CURIAE 2

      Iraq and Afghanistan Veterans of America (“IAVA”) submits this brief as

amicus curiae in support of Defendants-Appellants. IAVA is a nonprofit and

nonpartisan organization dedicated to improving the lives of Iraq and Afghanistan

veterans and their families. Founded in 2004, IAVA is the first and largest national

veterans service organization dedicated exclusively to current and former volunteer

servicemembers.

      IAVA’s membership is diverse and represents the full spectrum of political

persuasions. Its membership comprises more than 425,000 active veterans and

civilian supporters across all 50 states. IAVA was a leading voice among veterans-

service organizations in the media and in Congress supporting the veterans-focused

provisions in the Consolidated Appropriations Act of 2023, Pub. L. No. 117-328,

136 Stat. 4459 (2022), and it therefore has a unique interest in preserving those

provisions. If accepted by this Court, the district court’s reasoning would imperil the

entire Consolidated Appropriations Act of 2023, including legislation that is

critically important to IAVA’s membership and, indeed, all veterans.




2
  This brief is submitted under Federal Rule of Appellate Procedure 29(a)(2) with the
consent of all parties. This brief was not authored in whole or part by counsel for any of
the parties; no party or party’s counsel contributed money for the brief; and no one other
than amicus and its counsel have contributed money for this brief.

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                            SUMMARY OF ARGUMENT
      In its opinion below, the district court concluded that “the House violated the

Quorum Clause when it passed the Consolidated Appropriations Act of 2023” and

enjoined enforcement of part of the Act. Texas v. Garland, ___ F. Supp. 3d ___, No.

5:23-CV-034-H, 2024 WL 967838, at *2 (N.D. Tex. Feb. 27, 2024). While the

district court claimed its decision had “limited scope,” id., its holding was vast,

applying to the entirety of the Consolidated Appropriations Act of 2023. And that

holding calls into question the validity of other critical legislation passed as part of

this Act, including vital programs, benefits, and funding that veterans and veterans’

organizations like amicus depend on. Amicus leaves it to Appellants to address the

underlying merits of Appellees’ challenge to the Act; Amicus writes to explain how

allowing the district court’s holding to stand would imperil veterans’ legislation and

risk unnecessary challenges to settled programs, benefits, and funding on which

millions of this nation’s veterans rely. Amicus respectfully urges this Court to

reverse.




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                                  ARGUMENT
      The district court concluded that “the House violated the Quorum Clause

when it passed the Consolidated Appropriations Act of 2023.” Garland, 2024 WL

967838, at *2. Although the court purported to limit its ruling to the Pregnant

Workers Fairness Act, 136 Stat. at 6084–89, that legislation was passed as part of

the Consolidated Appropriations Act of 2023 using the same challenged set of

procedures. The district court’s conclusion regarding the constitutionality of those

procedures imperils bipartisan, uncontroversial, and widely supported legislation

addressing issues like disaster relief, rural electrification, and—of particular

importance to amicus—our nation’s veterans.

      In this brief, amicus outlines the bipartisan veterans’ legislation championed

as part of the Consolidated Appropriations Act of 2023, and explain its significance.

The legislation includes (i) the GI Bill National Emergency Extended Deadline Act;

(ii) the VA Beneficiary Debt Collection Improvement Act; (iii) the Support The

Resiliency of Our Nation’s Great (STRONG) Veterans Act; and (iv) the Joseph

Maxwell Cleland and Robert Joseph Dole Memorial Veterans Benefits and Health

Care Improvement Act.

      Allowing the district court’s decision to stand would threaten this veterans’

legislation and risk unnecessary challenges to settled programs, benefits, and

funding on which millions of this nation’s veterans rely. Without these programs,



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veterans and veterans’ organizations will suffer. For example, veterans who have

risked their lives for this country will lose out on critical educational benefits

extended by the Act. Other veterans will endure financially devastating debt

collections, due entirely to Department of Veterans Affairs (“VA”) error. Others,

who have given a lifetime of service, will be unable to access the mental healthcare

and suicide prevention services they need and deserve. And our nation will continue

to grapple with a homelessness crisis, failing to meet the needs of homeless veterans

who have given so much to our country.

      Amicus urges this Court to reject the district court’s holding that Congress did

not validly enact the Consolidated Appropriations Act of 2023.

I.    The district court’s decision jeopardizes the GI Bill National Emergency
      Extended Deadline Act.

      The district court decision threatens the GI Bill National Emergency Extended

Deadline Act (Pub. L. 117-328, 136 Stat. 5456 (2022)), a critical piece of the

Consolidated Appropriations Act of 2023.

      “The United States has a proud history of offering educational assistance to

millions of veterans, as demonstrated by the many ‘G. I. Bills’ enacted since World

War II.” Rudisill v. McDonough, 601 U.S. 294, 298–99 (2024). One of these bills,

the Montgomery GI Bill, provides educational assistance “to servicemembers who

first enter active duty between 1985 and 2030.” Id. at 299. Another, “the Post-9/11

GI Bill[,] gives servicemembers ‘enhanced educational assistance benefits’ that ‘are


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commensurate with the educational assistance benefits provided by a grateful Nation

to veterans of World War II” if they were “on active duty in the Armed Forces for

at least three years starting on or after September 11, 2001.” Id. at 300–01 (quoting

38 U.S.C. § 5002(6)).

      Veterans generally must use educational assistance provided by the

Montgomery GI Bill within 10 years of their discharge, and benefits provided by the

Post-9/11 GI bill must be used within 15 years of discharge.3 As a result of the

COVID-19 pandemic, many veterans were unable to use their educational benefits—

while the statutory deadlines for those benefits continued to run.

      To address that issue, Congress enacted, as part of the Consolidated

Appropriations Act of 2023, the GI Bill National Emergency Extended Deadline Act

of 2022. 136 Stat. at 5456–58. That legislation excludes from the 10-year and 15-

year requirements of the Montgomery and Post-9/11 GI Bills any period where a

veteran “is prevented from pursuing the individual’s chosen program of education”

because of “the temporary or permanent closure of an educational institution by

reason of an emergency situation” or “another reason that prevents the individual

from pursuing the individual’s chosen program of education, as determined by the



3
  The 15-year requirement under the Post-9/11 G.I. Bill was eliminated for veterans
discharged on or after January 1, 2013, as part of the Harry W. Colmery Veterans
Educational Assistance Act (also known as the Forever GI Bill), Pub. L. No. 115-48, 131
Stat. 973, 984 (2017).

                                          6
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Secretary” of Veterans Affairs. 136 Stat. at 5457. The GI Bill National Emergency

Extended Deadline Act also removed, on a prospective basis, the age-based

restrictions on the educational benefits afforded to the children of deceased

servicemembers. 136 Stat. at 5458.

      If the Consolidated Appropriations Act of 2023 was found to be

unconstitutionally enacted, the assistance that the GI Bill National Emergency

Extended Deadline Act provides would be jeopardized. The loss of the Act’s

protections would result in many veterans losing their GI Bill benefits, and would

raise complicated questions about retroactivity that could even require veterans to

repay benefits.

II.   The district court’s decision threatens the VA Beneficiary Debt
      Collection Improvement Act.

      The Consolidated Appropriations Act of 2023 addressed a serious issue in

which the VA overpayment system generated, and then collected, over $1.6 billion

of debt from veterans each year—with tragic consequences for Americans who gave

years of service to this country. 4 These overpayments resulted from “mistakes in

disability payouts, changes in eligibility, or simple accounting errors which have

resulted in financial difficulties for hundreds of thousands of veterans, especially for


4
 See Press Release, Congressman Chris Pappas, “Pappas and Bergman Call on the VA to
Reform VA’s Debt Collection Process Hurting Veterans” (Oct. 15, 2019),
https://pappas.house.gov/media/press-releases/pappas-and-bergman-call-va-reform-va-s-
debt-collection-process-hurting-veterans.

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those living on fixed incomes.” 5 Congressman Chris Pappas, who co-sponsored the

legislation, explained on the floor of the House of Representatives:

      Last year, I heard from one of my constituents, New Hampshire veteran
      Jeff Varney, who contacted my office for assistance. Jeff, like
      thousands of other veterans across the country, is facing tremendous
      financial hardship due to VA errors.

      Jeff was in disbelief when the VA informed him that he needed to repay
      years of benefit overpayments because of an apparent error that VA
      made decades ago.
      So after a lifetime of service, and through no fault of his own, Jeff was
      told he is on the hook for more than $11,000, even though VA produced
      no accounting of how these debts were accrued.
      Unfortunately, Jeff is not alone in this experience, and too many of our
      veterans are badly surprised when they receive letters saying they owe
      the VA money. Sometimes these debts reach thousands of dollars.
      During the hearings held by our Oversight and Investigations
      Subcommittee, we heard from veterans service organizations about the
      pain and hardship that these surprises may bring.
      Last fiscal year, the VA collected $1.6 billion in debts from veterans.
      Sometimes these debts result from mistakes in disability payouts,
      changes in eligibility, or simple accounting errors that place an undue,
      unexpected financial burden on our veterans.

166 Cong. Rec. H4719 at H4754 (daily ed. Sept. 23, 2020), https://congress.gov/

116/crec/2020/09/23/CREC-2020-09-23-pt1-PgH4754.pdf.            Congressman       Troy

Nehls, who co-sponsored the legislation, explained: “Veterans already face an



5
 See Press Release, Congressman Chris Pappas, “House Passes Pappas’s Legislation to
Protect     Veterans      from     VA       Errors”     (Sept.     23,      2020),
https://pappas.house.gov/media/press-releases/house-passes-pappas-s-legislation-
protect-veterans-va-errors.

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unprecedented public health crisis and the VA is further burdening them with their

own inefficiencies. This is completely unacceptable and I’m proud to join this

bipartisan effort to right this wrong.”6

      To protect veterans from unfair debt collection, Congress enacted the VA

Beneficiary Debt Collection Improvement Act (Pub. L. 117-328, 136 Stat. 5462

(2022)) as part of the Consolidated Appropriations Act of 2023. That legislation

provides that veterans cannot incur a debt to the United States that “is attributable to

the failure of an employee or official of the Department [of Veterans Affairs] to

process information provided by or on behalf of that individual within applicable

timeliness   standards.”    136   Stat.    at    5462–63    (codified   at   38     U.S.C.

§ 5302B(a)(1)(B)). The VA Beneficiary Debt Collection Improvement Act also

prevents the VA from charging interest or administrative costs for certain debts, 136

Stat. at 5464, and establishes an administrative mechanism for veterans to dispute

debts asserted by the VA, id. at 5464–65.

      If the district court’s decision stands, these important protections could

disappear, leaving millions of veterans again susceptible to unfair debt collection.




6
  Press Release, Congressman Chris Pappas, “Representatives Pappas & Nehls Introduce
Legis. to Protect Veterans from VA Payment Errors” (May 4, 2021),
https://pappas.house.gov/media/press-releases/representatives-pappas-and-nehls-
introduce-legislation-protect-veterans-va.

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III.   The district court’s decision endangers the Support the Resiliency of Our
       Nations Great Veterans Act.

       The Support the Resiliency of Our Nations Great Veterans Act of 2022

(“STRONG Act”) (Pub. L. 117-328, 136 Stat. 5497 (2022)) expands the VA’s

resources and provides it with new tools to support the mental health of veterans.

136 Stat. at 5497–5518. Veteran mental health, particularly suicide prevention, has

been a longstanding concern for U.S. policymakers and the VA. In fact, the VA’s

top clinical priority is to prevent veteran suicides. 7 A 2023 VA report found that in

2021, “suicide was the 13th-leading cause of death for Veterans overall, and the

second-leading cause of death among Veterans under age 45-years-old.”8

       The STRONG Act represents a significant bipartisan effort to tackle this

crisis. 9 The STRONG Act addresses gaps in health providers’ training and

availability to treat veterans’ mental health needs. As one example, the Act expands



7
  Suicide Prevention, VA, https://www.mentalhealth.va.gov/suicide_prevention/#:~:text=
VA's%20top%20clinical%20priority%20is,the%20VA%20health%20care%20system,(la
st visited Aug. 15, 2024); Nat’l Strategy for Preventing Veteran Suicide 2018–2028, VA,
at 4, https://www.mentalhealth.va.gov/suicide_prevention/docs/Office-of-Mental-Health-
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visited Aug. 15, 2024).
8
  2023 National Veteran Suicide Prevention Annual Report, VA Suicide Prevention Off.
of Mental Health & Suicide Prevention, VA, at 8 (Nov. 2023),
https://www.mentalhealth.va.gov/docs/data-sheets/2023/2023-National-Veteran-Suicide-
Prevention-Annual-Report-FINAL-508.pdf (“2023 Veteran Suicide Prevention Report”).
9
  Samantha Gonzalez, House Republicans Praise House Passage of Bipartisan Veterans’
Mental Health Care Bill, House Comm. Veterans’ Affs. (June 23, 2022),
https://veterans.house.gov/news/documentsingle.aspx?DocumentID=6025.

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the Vet Center workforce and provides scholarships and loan repayment programs

for mental-health providers. See 136 Stat. at 5498–01. Title II of the Act also directs

new training, pilot programs, and studies in support of the veteran’s crisis line. Id.

at 5501–05; see 38 U.S.C. § 1720F(h). In a similar vein, the STRONG Act

implements new programs encouraging outreach to veterans, 136 Stat. at 5506–09,

and expands mental health care delivery, id. at 5509–12.

      The STRONG Act includes appropriations to fund these programs. For

example, the Act appropriates over $100 million for the VA to implement section

506 of the VA Mission Act (Pub. L. No. 115-182, 132 Stat. 1393 (2018)) from 2022

through 2028. 136 Stat. at 5510. (Section 506 of the VA Mission Act implements a

pilot program “to promote behavioral health, mental health, and substance use

disorder treatment by integrating peer specialists into patient aligned care teams in

primary care settings.”). 10

      Finally, the STRONG Act provides for new research for the benefit of

veterans, including studies on the improvement of sleep disorders, substance use

disorders, suicide prevention, brain health, and the efficacy of certain resources for

post-traumatic stress disorder. See 136 Stat. at 5513–17.




10
   See Alex Woodruff, et al., Policy Brief, Partnered Evidence-Based Pol’y Res. Ctr., at 3
(Aug. 2020), https://www.peprec.research.va.gov/PEPRECRESEARCH/docs/Policy_Bri
ef_8_Mission_Act.pdf; 132 Stat. at 1477–78.


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      Affirming the district court’s holding would imperil the STRONG Act,

hurting veterans and undermining Congress’s efforts to provide life-saving mental

health benefits and prevent veteran suicide.

IV.   The district court decision imperils the Joseph Maxwell Cleland and
      Robert Joseph Dole Memorial Veterans Benefits and Health Care
      Improvement Act.

      Finally, the Joseph Maxwell Cleland and Robert Joseph Dole Memorial

Veterans Benefits and Health Care Improvement Act of 2022 (“Cleland and Dole

Memorial Act”) (Pub. L. 117-328, 136 Stat. 5404 (2022) ) was also enacted as part

of the Consolidated Appropriations Act of 2023. The Cleland and Dole Memorial

Act addresses many issues impacting the lives of veterans today, such as access to

healthcare, including mental healthcare (136 Stat. at 5407–46), homelessness (136

Stat. at 5465–82), and educational and vocational training (136 Stat. at 5446–65). It

provides:

      ●      Hospital and nursing home care for all World War II veterans, for the
             first time, § 101;

      ●      Provision of healthcare to veterans from healthcare providers outside
             the VA, §§ 121-44;

      ●      Travel assistance to veterans who need to travel to VA facilities to
             access health care, §§ 241-44;

      ●      Pilot programs on grants for health care for homeless veterans, § 310,
             and grants for substance use disorder recovery for homeless veterans,
             § 311;

      ●      Improvements to information technology at the VA, § 403; and



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      ●      Pension increases for recipients of the Congressional Medal of Honor,
             § 407.

      If this Court should agree that the Consolidated Appropriations Act of 2023

was not validly enacted, it would imperil all the above legislation. These important

pieces of legislation make good on our collective obligation to the men and women

who put their lives on the line to defend our country.

                                   CONCLUSION
      The Consolidated Appropriations Act of 2023 contains a vast array of

veterans’ legislation that provides significant benefits to veterans. If this Court

affirms the district court’s decision, America’s veterans will suffer. Amicus urges

this Court to reject the district court’s conclusion that Congress did not validly enact

the Consolidated Appropriations Act of 2023.




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                                     /s/ Alexander M. Wolf
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                     CERTIFICATE OF COMPLIANCE
       This brief complies with the type-volume limitation of Federal Rule of
Appellate Procedure 29(a)(5) because it contains 2,558 words, excluding the parts
of the brief exempted by Rule 32(f).

      This brief complies with the typeface requirements of Rule 32(a)(5) and the
type style requirements of Rule 32(a)(6) because it has been prepared in a
proportionally spaced typeface using Microsoft Word Office Professional Plus 2019
in Times New Roman 14-point font for main text and 13-point font for footnotes.
                                     /s/ Alexander M. Wolf
                                     Alexander M. Wolf


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                          CERTIFICATE OF SERVICE
       On August 16, 2024, I filed this brief with the Clerk of the Court for the United
States Court of Appeals for the Fifth Circuit and served upon all counsel of record
via the CM/ECF system.
                                        /s/ Alexander M. Wolf
                                        Alexander M. Wolf




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